                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

    KRISTINE BAKER,                                 :
                                                    :
                  Plaintiff,                        :
         v.                                         :       Case No. 7:23-cv-01626
                                                    :
    RALDINO POWELL, R.N.,                           :
    DR. ELLEN GOMPRECHT, M.D.,                      :       AMENDED COMPLAINT AND
    SUPERINTENDENT AMY                              :       JURY TRIAL DEMAND
    LAMANNA                                         :
                                                    :
                  Defendants.                       :
                                                    :
                                                    :
                                                    :
                                                    :
                                                    :
                                                    :
                                                    :
                                                    :
                                                    :



        Plaintiff Kristine Baker (c/o Prisoners’ Legal Service of New York) (“Ms. Baker” or

“Plaintiff”), by and through her undersigned attorneys, as and for this Amended Complaint against

Raldino Powell, R.N. (“Defendant Powell”), Dr. E. Gomprecht, M.D. (“Defendant Gomprecht”),

and Superintendent Amy Lamanna (“Defendant Lamanna”),1 alleges as follows:

                                         NATURE OF ACTION

        1.       This civil rights action arises from the rape and sexual assault of Ms. Baker, which

occurred during her incarceration at Bedford Hills Correctional Facility (“Bedford Hills”).




1
 The sole substantive difference between the Complaint and the Amended Complaint is that the latter names
Defendant Superintendent Amy Lamanna in place of Defendant Superintendent Eileen Russell.
                                                        1
Plaintiff brings this action to recover damages from Defendants and to deter sexual abuse in New

York State Prisons in the future.

       2.      The sexual abuse of Ms. Baker was part of a pattern of sexual misconduct by

Defendant Powell, a nurse at Bedford Hills. Defendant Gomprecht and Defendant Lamanna were

made aware and had knowledge of Defendant Powell’s sexual misconduct yet failed, on several

occasions, to take any measures to protect Ms. Baker from the ongoing sexual abuse.

       3.      Based upon the egregious misconduct detailed herein, Plaintiff seeks compensatory

and punitive damages, costs, interest, and attorneys’ fees pursuant to 42 U.S.C. § 1983.

                                JURISDICTION AND VENUE

       4.      Subject matter jurisdiction is conferred on this Court by 28 U.S.C §§ 1331, 1343(3)

and (4). This Court has personal jurisdiction over Defendants because they reside in this District

and/or engaged in conduct relevant to Plaintiff’s claims in this District. Venue is proper in this

division.

                                           PARTIES

       5.      Plaintiff Kristine Baker is currently an incarcerated individual at Albion

Correctional Facility. She is a resident of Orleans County, New York.

       6.      Defendant Powell is a “person” under 42 U.S.C. § 1983. At all relevant times,

Defendant Powell was an employee of the New York State Department of Corrections and

Community Supervision (the “NYSDOCCS”) and was working as a nurse at Bedford Hills, acting

under color of New York state law. Defendant Powell is being sued in his individual capacity.

       7.      Defendant Gomprecht is a “person” under 42 U.S.C. § 1983. At all relevant times,

Defendant Gomprecht was an employee of the NYSDOCCS and was working as a doctor at



                                                2
Bedford Hills, acting under color of New York state law. Defendant Gomprecht is being sued in

her individual capacity.

       8.      Defendant Lamanna is a “person” under 42 U.S.C. § 1983. At all relevant times,

Defendant Lamanna was the Superintendent of Bedford Hills, acting under color of New York

state law. Defendant Lamanna is being sued in her individual capacity.

                                  FACTUAL ALLEGATIONS

Background

       9.      At all times relevant to this action, Ms. Baker was a state prisoner.

       10.     On February 12, 2020, Ms. Baker was transferred from Oswego County Jail, where

she had been incarcerated prior to her trial, to Bedford Hills in order to begin serving her sentence.

       11.     As an incarcerated individual, Ms. Baker was fully reliant upon the prison staff,

including Defendants, for her health and safety.

       12.     The Prison Rape Elimination Act of 2003 (“PREA”) establishes a zero-tolerance

policy for prison rape and imposes national standards for the detection, prevention, reduction, and

punishment of prison rape. 34 U.S.C. §30301 et seq.

       13.      Under New York Penal Law § 130.05, a person is incapable of consenting to sexual

conduct with an employee of the state if the person is “committed to the care and custody or

supervision of the state department of corrections and community supervision…and the actor is an

employee knows or reasonably should know that such person is committed to the care and custody

or supervision of such department.” At all times relevant to this action, Ms. Baker was incapable

of consenting to sexual conduct of any kind with Defendant Powell.




                                                   3
       14.     NYSDOCCS Directive No. #4027 (“Directive #4027”), Sexual Victimization

Prevention & Response implements policies and procedures pursuant to New York State’s PREA

obligations.

       15.     Directive #4027 categorically prohibits NYSDOCCS employees from engaging in

any form of sexual contact with an incarcerated individual.

       16.     Directive #4027 establishes procedures for NYSDOCCS employees to report

suspected or reported sexual abuse committed by NYSDOCCS staff against incarcerated

individuals held in the custody and care of NYSDOCCS.

       17.     Directive #4027 Section V(B)(1)(a)(1) on reporting requires that all NYSDOCCS

staff “shall report to a supervisor immediately…any knowledge, suspicion, or information

regarding any incident of sexual abuse or sexual harassment that occurred in a facility…and any

unauthorized relationship.”

       18.     Directive #4027 Section V(C)(1)(a) requires that “all reports of sexual abuse must

be medically assessed immediately at the facility or an outside hospital emergency department,

regardless of whether or not the allegation has been independently verified prior to the victim’s

presentation for treatment.”

       19.     Directive #4027 Section V(B)(1)(f) requires that “pursuant to Directive

#0700…under no circumstances shall a facility or Community Supervision Bureau investigation

involving sexual abuse, sexual harassment, or an unauthorized relationship be initiated unless and

until OSI [Office of Special Investigations] has been consulted.” This requirement establishes that

OSI must be contacted and consulted once any NYSDOCCS employee receives a report of sexual

abuse or sexual harassment.



                                                4
       20.     Directive #4027 Section V(E) requires that “each correctional facility shall

complete Form #4027MRC ‘Monthly Report of Sexual Victimization Summary’…that shall be a

chronological listing of each report of sexual victimization that occurs during a given month for

review by the Superintendent. The Monthly Report shall be reviewed and approved by the ADS

PCM and the Superintendent.”

Defendant Powell’s Initial Sexual Harassment and Assault of Plaintiff

       21.     On February 28, 2020, Ms. Baker was seen for a medical examination at Bedford

Hills’ Regional Medical Unit (the “RMU”), due to a rash on her stomach.

       22.     On February 29, 2020, Ms. Baker returned to the RMU for further medical

treatment related to the aforementioned rash. Ms. Baker was treated by Defendant Powell at the

RMU.

       23.     Defendant Powell conducted a medical examination of Ms. Baker and requested to

look at Ms. Baker’s stomach to observe the rash.

       24.     In accordance with Defendant Powell’s instructions, Ms. Baker raised the lower

part of her shirt to provide Defendant Powell with a clear view of the area of her stomach affected

by the rash.

       25.     Defendant Powell subsequently demanded that Ms. Baker “pull [her] pants down”

so that he could look at the rash. At no point did Ms. Baker complain of a rash on the lower half

of her body, nor did Defendant Powell articulate any reason for the inspection of Ms. Baker’s

intimate parts. Defendant Powell’s demand for Ms. Baker and examination of Ms. Baker’s intimate

parts were not medically necessary.




                                                5
       26.     Immediately following Defendant Powell’s improper demand, Defendant Powell

began to verbally and sexually harass Ms. Baker, making the unwelcome sexual comment that Ms.

Baker has a “nice body.”

       27.     Ms. Baker was called back to the clinic at 1:30 p.m. that same day, February 29,

2020. Ms. Baker, who was under the impression that further medical examination was required in

order to diagnose the rash, returned to the RMU at 1:30 p.m. on February 29, 2020.

       28.     During this visit, Defendant Powell did not conduct any sort of medical

examination of Ms. Baker. Defendant Powell entered the medical cubicle that Ms. Baker was in,

and without any warning and without requesting permission to approach, pulled shut the cubicle

curtain, blocking the cubicle from sight from the rest of the room. Defendant Powell then

immediately approached Ms. Baker and kissed her on her mouth.

       29.     Ms. Baker was shocked and appalled by Defendant Powell’s actions and reported

his sexual misconduct by making a PREA complaint to a medical staff member (hereafter “Nurse

A”), on February 29, 2020. As part of the PREA complaint process, Ms. Baker met with Nurse A

on the evening of February 29, 2020. Ms. Baker described the abuse and harassment by Defendant

Powell that occurred earlier that day. Nurse A memorialized this PREA complaint and assessment.

In the documentation from this assessment, Nurse A diagnosed Ms. Baker with “rape/trauma

syndrome” and “risk for rape/trauma syndrome.”

       30.     On or around March 1, 2020, Ms. Baker called the PREA Statewide Rape Crisis

Hotline, which is intended to connect incarcerated survivors to a rape crisis counselor/advocate for

crisis counseling, medical advocacy, legal advocacy, and additional support. On this call, Ms.

Baker corrected the assailant’s name in her PREA complaint, identifying him as Defendant Powell.

On an addendum to the PREA complaint dated March 7, 2020, Nurse A noted that Dr. Gomprecht
                                                 6
was notified of the incident, that an incident report was made, and an OMH referral was submitted.

Dr. Gomprecht had notice of the PREA complaint and did not take action to ensure that Ms. Baker

be protected from future sexual abuse by her assailant.

       31.     Upon information and belief, pursuant to the policy for reporting laid out in

Directive #4027, Defendant Lamanna received notice of Ms. Baker’s PREA complaint in the form

of “the monthly report,” yet Defendant Lamanna took no action to prevent further sexual abuse

and harassment of Ms. Baker. Upon information and belief, Plaintiff’s PREA complaint was

received by the Office of Special Investigations (the “OSI”) on or around February 29, 2020, yet

no action was taken for several weeks by OSI or any security staff.

       32.     Following Ms. Baker’s initial PREA complaint regarding the sexual misconduct,

Defendant Powell threatened Ms. Baker with solitary confinement in the Special Housing Unit

(the “SHU”), where he stated that she would be “taken care of” by other incarcerated individuals.

Defendant Powell’s Increased Access to Plaintiff between February and April 2020

       33.     Between February and April 2020, Ms. Baker experienced various health issues

that required several visits to the RMU for medical treatment. These health issues included the

aforementioned stomach rash, asthma, back pain, and COVID-19-related symptoms. These visits

also provided Defendant Powell with increased access to Ms. Baker and further opportunities to

sexually harass and abuse Ms. Baker.

       34.     On April 16, 2020, Defendant Gomprecht and other medical staff admitted Ms.

Baker to isolation in the RMU because of suspected Covid-19. Ms. Baker had not tested positive

for COVID-19 but was placed in isolation as a precautionary measure due to symptoms consistent

with COVID-19.



                                                7
       35.     Ms. Baker was kept in isolation by medical staff, including Dr. Gomprecht who

had actual notice of her PREA complaint, despite the serious, ongoing, and obvious risk of sexual

abuse by Defendant Powell due to increased access to Ms. Baker with no other supervision present.

Defendant Powell Repeatedly Rapes Ms. Baker While She is in Medical Isolation

       36.     As a result of Defendant Gomprecht and Defendant Lamanna’s indifference to the

serious risk of further sexual abuse to Ms. Baker by Defendant Powell, Defendant Powell was able

to interact with Ms. Baker alone while she was in isolation.

       37.     While Ms. Baker was in isolation, Defendant Powell interacted with Ms. Baker

multiple times, took her temperature, and noted her symptoms in her medical notes.

       38.     Defendant Powell sexually abused and raped Ms. Baker on multiple nights during

the time that she was in respiratory isolation in RMU between April 16 and April 27, 2020.

       39.     Ms. Baker became agitated and expressed thoughts of self-harm while in

respiratory isolation on April 21, 2020. Ms. Baker was admitted to the RCTP on April 21, 2020

following this incident, but was released back into the RMU isolation unit on April 22, 2020.

       40.     Ms. Baker was given medical clearance after testing negative for Covid-19 and was

released back into general population from isolation on April 27, 2020.

Defendant Powell Continues to Rape Ms. Baker While Assigned to Work in the RMU

       41.     For some period of time after the filing of Ms. Baker’s PREA complaint until her

transfer out of Bedford Hills, Ms. Baker was assigned to work in the RMU, where Defendant

Powell also worked.

       42.     During Ms. Baker’s work assignment in the RMU, Defendant Powell raped her

repeatedly.



                                                8
       43.     During Ms. Baker’s work assignment in the RMU, J.E., an incarcerated individual

who also worked in the RMU, observed Defendant Powell ordering and taking Ms. Baker into a

private room numerous times. Defendant Powell would order J.E. to stand guard while he took

Ms. Baker into a private room.

       44.     On or around May 10, 2020, J.E. reported to an unknown official at the facility that

Ms. Baker had become pregnant as a result of a sexual relationship between Ms. Baker and

Defendant Powell.

       45.     On May 11, 2020, Ms. Baker was admitted to the infirmary on security hold and

was given a pregnancy test the next day, May 12, 2020. The pregnancy test result was negative,

indicating that Ms. Baker was not, in fact, pregnant.

       46.     At no time between Ms. Baker’s initial PREA complaint regarding Defendant

Powell’s sexual abuse on February 29, 2020, and the date of Ms. Baker’s transfer out of Bedford

Hills was a rape kit conducted on Ms. Baker or ordered by Defendant Gomprecht or Defendant

Lamanna.

       47.     Ms. Baker was transferred to Albion Correctional Facility on May 13, 2020.

       48.     As a result of Defendants’ misconduct, Ms. Baker suffered mental anguish and

severe emotional distress.

                                 FIRST CAUSE OF ACTION
                       (Against All Defendants Under 42 U.S.C. §1983)

       49.     Defendant Powell committed an ongoing pattern of sexual harassment and abuse

of Ms. Baker, in violation of her right to be free from cruel and unusual punishment under the

Eighth Amendment of the United States Constitution.



                                                 9
       50.     Defendant Lamanna and Defendant Gomprecht, through their policies, practices,

acts, and omissions, exhibited deliberate indifference to the risk of sexual harassment and abuse

of Ms. Baker, in violation of her right to be free from cruel and unusual punishment under the

Eighth Amendment of the United States Constitution.

       51.     With deliberate indifference to the substantial risk of serious harm to Ms. Baker,

Defendant Lamanna and Defendant Gomprecht failed to appropriately investigate and act upon

Ms. Baker’s PREA complaint, which resulted in Ms. Baker’s subjection to further sexual abuse

and sexual harassment by Defendant Powell and placement of Ms. Baker at increased risk of

retaliation for reporting the sexual misconduct, in violation of the Eighth Amendment of the United

States Constitution.

       52.     With deliberate indifference to the substantial risk of serious harm to Ms. Baker,

Defendant Lamanna and Defendant Gomprecht failed to offer and provide adequate medical

treatment, including, inter alia, the failure to order a rape kit following Ms. Baker’s PREA

complaint and also following J.E.’s false report that Ms. Baker was pregnant. As a result, Ms.

Baker was subjected to serious emotional and mental harm in violation of the Eighth Amendment

of the United States Constitution.

                              SECOND CAUSE OF ACTION
                       (Against All Defendants Under 42 U.S.C. §1983)

       53.     Defendants deprived Ms. Baker of her right to be free from sexual abuse and sexual

harassment, and of her right to bodily integrity, without due process of law, in violation of the

Fourth and Fourteenth Amendments of the United States Constitution.




                                                10
                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests this Court enter judgment in her favor and

against Defendants as follows:

           1) Award Plaintiff compensatory damages in an amount to be determined at trial;

           2) award punitive damages against all Defendants in an amount to be determined at

               trial;

           3) award Plaintiff reasonable attorneys' fees, costs, and disbursements;

           4) award Plaintiff pre- and post-judgment interest; and,

           5) grant Plaintiffs such additional and further relief as the Court deems just and

              proper.

D ated: April 20, 2023

       New York, New York

                                             SEIDEN LAW LLP



                                             Amiad Kushner, Esq.
                                             Priya Lehal, Esq.
                                             322 Eighth Avenue, Suite 1704
                                             New York, New York 10001
                                             (212) 523-0669




                                        �    =/�

                                                 ;-��
                                                    Bogin, Esq.
                                                                9�
                                                                 �


                                             Karen Murtagh, Executive Director Prisoners'
                                             Legal Services of New York 10 Little Britain Road
                                             Suite 301 Newburgh, NY 12550

                                            Attorneysfor Plaintiff

                                               11
